AO 199A (Rev. in ED/NC on 6/ 11 /14) Order Setting Conditions of Release                                        Page I of   3   Pages




                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Eastern District of North Carolina


                    United States of America                                  )
                                   V.                                         )
                       Jabari Devon Davis                                     )        Case No. 5:20-CR-433-D
                                                                              )
                               Defendant
                                                                              )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditio ns:

(I)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA samp le if it is authorized by 42 U.S.C. § 14135a.

(3)    The defendant must advise the court or the probation office or supervising officer in writing before making
       any change of residence or telephone number.

( 4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.

       The defendant must appear at:
                                                                                             Place




       on
                                                                             Date and Time


       lf blank, defendant will be notified of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered.




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                                                      ADDITIONAL CONDITIONS OF RELEASE

       IT IS FURTHE R ORDERED that the de fendant's release is subj ect to the conditio ns marked be low:

        (6)     The de fendant is placed in the custody of:
                Person or organization
                Address (only if above is an organi=ation)
                C ity and state - - -----------,-,,------,---,:---,-----,-------~-                                     Te l. No. _ _ _ __ _ _ _ _ _ _ _ _ __
who agrees to (a) supervise the defendant, (b) use every e ffort to assure th e defe ndant' s appearance at a ll court proceedings, and (c) notify the court immedi ate ly
if the de fend ant violates a cond iti on of re lease or is no longe r in the custodian's custody.

                                                                               Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _
                                                                                                              Custodian                                   Date
(X)     (7) The defendant must:
      ( X ) (a) submit to superv is ion by and re port for supe rvision to the United States Probation Office as directed
                 te lephone number        _ _ __ ___ , no later than
           ) (b) continue or active ly seek e mploy ment.
           ) (c) continue o r start an education program.
           ) (d) surrender any passport to:
           ) (e) not obtain a passport or other inte rn ationa l trave l docume nt.
           ) (f) abide by the fo llowing restri ctions on perso na l assoc iation, res idence, or trave l:

              ) (g) avo id all co ntact, dire ctly o r indirectl y, with any person who is or may be a victim or w itness in the investigation or prosecution,
                    including:

              ) (h) get medica l or psychiatri c treatment:

              ) (i) return to custody each _ _ _ __ at _ _ _ _ o ' clock after be ing re leased at _ _ _ _ _ o ' clock for e mploy me nt, schooling,
                    or the foll owing purposes:

              ) (i) ma intain res idence at a res identi a l reentry center, and abide by the co nditions of th at fac ility .
              ) (k) not possess a firearm, destructi ve dev ice, o r other wea pon.
              ) (I) not use alcoho l (        ) at a ll (    ) excess ively .
              ) (m) not use or unl awfull y possess a narcotic drug or other co ntrolled substances de fin ed in 2 1 U.S. C. § 802, unless prescribed by a licensed
                    medi cal practitioner.
              ) (n) submit to testing for a proh ibited substance if requ ired by the probat ion office o r su pe rv ising office r. Testing may be used w ith random
                    frequency and may include urine testing, the wearing o f a sweat patch, an d/or any fo rm of prohibited substance screening or testi ng.
                    The de fendant must not obstru ct, attempt to obstruct, o r tamper with the effic iency and accuracy of proh ibited substance screening or testi ng.
                (o) participate in a program of inpatient or outpatient substance abuse therapy and counse ling if d irected by the probation o ffi ce or
                    supervi sing officer.
              ) (p) participate in o ne o f the fo llowing locatio n restrictio n programs and com ply with its req uirem ents as di rected:
                    (     ) (i) Curfew. You are restricted to your res idence every day (            ) from        _ _ _ _ _ to _ _ _ _ _ , or (                   ) as
                                  appro ved by the probation office or supervising o ffi cer; or
                          ) (ii) Home Detention. You are restricted to yo ur res idence at a ll times except for em ployment; education; re li g ious se rvices; medical,
                                  substance abu se, or mental hea lth treatment; attorney v isits; court appearances; co urt-ordered obligati ons; or other acti vities
                                  appro ved in advance by the probation o ffi ce or supervisin g o fficer; or
                          ) (iii) Home Incarceration. You are restri cted to 24-h our-a-day lock-down at yo ur res idence except for medi cal necess ities and
                                  court appearances or other activities specifica lly approved by the co urt.
              ) (q) submit to the foll owing monitoring and comply w ith all of the program requireme nts and instructions provided:
                    (    ) The defendant must pay (           ) all of the cost of the program (      ) a port ion o f the locatio n monitoring cost as fo ll ows:




                     (    ) Radio Frequency (RF) monitoring                                  Vo ice Recognition
                     (    ) Global Pos itioni ng Sate llite (GPS)                            Re mote A lco hol Monitoring
               ) (r) report as soon as poss ible, to the probation office or superv is ing offi ce r, every co ntact with law e nforce ment personne l,
                      including arrests, questioning, or traffi c stops.
               ) (s) submit to warrantless searches of perso n, res idence, pro perty or vehi cle by the pro batio n office or supervis ing offi cer.




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                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SA CTlONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond , and a prosecution for contempt of court and cou ld resu lt in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence wi ll be
consecutive (i.e., in addition to) to any other sentence you receive .
       It is a crime punishable by up to ten years in prison , and a $250,000 fine, or both, to : obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional pun ishment may be imposed . If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment fo r a term of fifteen years or more - you wi ll be fined
             not more than $250,000 or imprisoned for not more than IO years, or both ;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
             more than $250,000 or impri soned for not more than five years, or both;
       (3) any other felony - yo u will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender wi ll be consecutive to any other sentence you receive. In
addition , a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of the Defendant

      I acknowledge that I am the defen dant in this case and that I am aware of the conditions of release. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed . I am aware of the penalties and sanctions set forth above.




                                                                                             Cay and State



                                                 Directions to the United States Marshal

(✓)The defendant is ORDERED released after processing.
(   ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
      has posted bond and/or compli ed with all other conditions for release. If sti ll in custody, the defendant must be produced before
      the appropriate judge at the time and place specified.


Date:   ~ L~cJ/2
              ,_e_,_IZv
                     _ru___
                                                                        'Judiciai Officer 's Signature
                                                                  ROBERT T. NUMBERS, II, US MAGISTRATE JUDGE
                                                                                         Printed name and title




                    DISTRJBUTION :      COURT       DEFENDANT    PROBATION OFFICE        U.S. ATTORNEY            U.S. MARSHAL




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